Case 2:04-Cr-20309-BBD Document 59 Filed 08/26/05 Page 1 of 2 Page|D 55

 

 

IN THE UNITED STATES DISTRICT COURT gm gy__' _____ __D_¢
FoR THE wESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 llth 26 AH 6= 1,3
_ THOt.té-ts .j GOULD
UNITED STATES oF AMERICA, G.ERN U.S. EMRICT OOLBT
th OF TN, MEMPHS
Plaintiff,
vs. Cr. No. 04-20309-D
ROBERT LORD,
Defendant.
oRDER

 

IT IS HEREBY ORDERED, after consideration of the Motion for Bond Pending Appeal, it’ s
Memorandum in Suppor't and the opposition, if any, filed by the United States that the Motion for

Bond Pending Appeal lS MT granted

 

UNITED STATES JUDGE

T'nis document entered on the docket sheet in compliance §
With Ftd|o f an `1.-'or 32(b) FHC:P on _8 120 '05

   

UNITED S`ATE 'ST'IIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20309 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

